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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

KEN JOSEPH                                     )
                                               )
                         Plaintiff,            )
                                               )
        v.                                     )   Civil Action No. _______________
                                               )
                                               )
BARCLAYS BANK DELAWARE                         )
                                               )
                         Defendant.            )

                                  NOTICE OF REMOVAL

        NOW COMES Defendant Barclays Bank Delaware (“Barclays”), by and

through undersigned counsel, hereby gives notice of removal pursuant to 28 U.S.C.

§§ 1331, 1441 and 1446 of Civil Action No. 15-M-35107 filed in the Magistrate

Court of Gwinnett County, State of Georgia. Barclays respectfully states the

following as grounds for removal of this action:

        1.         On or about December 4, 2015, Plaintiff filed a Complaint for Relief

against Barclays in a lawsuit styled Ken Joseph v. Barclays Bank Delaware, in the

Magistrate Court of Gwinnett County, State of Georgia (the “Lawsuit”). A copy of

Joseph’s Complaint for Relief is attached hereto as Exhibit A.




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        2.         In the Complaint against Barclays, Plaintiff asserts claims against

Barclays for violation of the Telephone Communications Act, 47 U.S.C. § 227 et

seq. and violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq. (collectively “Federal Question Claims”).

        3.         28 U.S.C. § 1446(b)(2)(B) provides that for cases removed on federal

question grounds, “Each defendant shall have 30 days after receipt by or service on

that defendant of the initial pleading or summons described in paragraph (1) to file

the notice of removal.”

        4.         Plaintiff’s Complaint raises cognizable claims that arise under the

laws of the United States, specifically claims for violation of the Telephone

Communications Act, 47 U.S.C. § 227 et seq. and violation of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq.

        5.         This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331

because Plaintiff’s Federal Question Claims in the Complaint are claims, “arising

under the Constitution, laws or treaties of the United States.”

        6.         This Notice of Removal is timely under 28 U.S.C. §1446(b).

Plaintiff’s Complaint was received by Barclays on December 8, 2015. This Notice

of Removal is filed within thirty (30) days Barclays’ receipt of the Complaint.




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        7.         Pursuant to 28 U.S.C. § 1446(d), Barclays is filing a Notice to

Magistrate Court of Filing Notice of Removal with the Clerk of the Magistrate

Court of Gwinnett County, State of Georgia, and is serving said Notice on all

parties. See Notice to State Court of Filing Notice of Removal (without Exhibits)

attached as Exhibit B.

        8.         Copies of all process, pleadings, and orders served on Barclays in the

Magistrate Court action are attached hereto as Exhibits A-B.

        9.         By reason of the foregoing, Barclays desires and is entitled to have the

above-captioned matter removed from the Magistrate Court of Gwinnett County,

State of Georgia to this Court.

        WHEREFORE, Barclays removes this civil action from the Magistrate

Court of Gwinnett County, State of Georgia to the United States District Court for

the Northern District of Georgia.




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        This the 5th day of January, 2016.

                                    /s/ Michael D. DeFrank
                                    Michael D. DeFrank
                                    (Georgia State Bar No. 215865)
                                    WYRICK ROBBINS YATES & PONTON LLP
                                    4101 Lake Boone Trail, Suite 300
                                    Raleigh, North Carolina 27607
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                                    mdefrank@wyrick.com

                                    Attorney for Defendant Barclays Bank
                                    Delaware




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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2016, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following as well as serving each of them via United States Mail,
first class postage-prepaid addressed as follows:

                   Ken Joseph
                   596 Middleton Place
                   Grayson, GA 30017



                                         /s/ Michael D. DeFrank
                                         Michael D. DeFrank
                                         (Georgia State Bar No. 215865)
                                         WYRICK ROBBINS YATES & PONTON LLP
                                         4101 Lake Boone Trail, Suite 300
                                         Raleigh, North Carolina 27607
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